                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA


EMMA NASH, as Personal
Representative of the ESTATE OF
ELIZABETH NASH,

                           Plaintiff,
              v.

UNITED STATES OF AMERICA and
SHANNON PATRICK GARITTY, MD,                   Case No. 3:16-cv-00290-SLG


                          Defendants.



                   ORDER GRANTING MOTION TO SUBSTITUTE


      Upon consideration of Defendant’s Motion to Substitute the United States as

Named Defendant (Docket 5) and Plaintiff’s non-opposition (Docket 9), the Court hereby

GRANTS the motion.

      IT IS ORDERED that the caption shall be restyled as set forth above.

      DATED this 13th day of January, 2017 at Anchorage, Alaska.

                                        /s/ Sharon L. Gleason
                                        UNITED STATES DISTRICT JUDGE




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